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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                         Plaintiff,

v.                                                     Case No. 15-40058-02-DDC

VICTOR MARTINEZ (02),

                         Defendant.


                                  MEMORANDUM AND ORDER

          On July 1, 2015, the government charged Victor Martinez and Nancy Moreno-Magana

with possession of methamphetamine with intent to distribute it and also with conspiring to

possess methamphetamine with intent to distribute it. See Doc. 1. The government based those

charges on evidence discovered during a February 22, 2015 search of a rental car occupied by

Mr. Martinez and Ms. Moreno-Magana. Law enforcement had used real-time, GPS location

pings returned by Mr. Martinez’s and Ms. Moreno-Magana’s cellular phones to find the rental

car while it was in Kansas. Mr. Martinez and Ms. Moreno-Magana both moved to suppress the

evidence seized during the search of the car, arguing that law enforcement had pinged their

phones unlawfully. On February 3, 2016, the Court denied Mr. Martinez’s and Ms. Moreno-

Magana’s motions. See Doc. 70. This matter is now before the Court on Mr. Martinez’s Motion

for Reconsideration (Doc. 76). For reasons explained below, the Court denies this motion as

well.

     I.      Legal Standard

          In criminal cases, motions to reconsider rulings on pretrial motions are rare. See United

States v. Carr, No. 06-40147-02-SAC, 2007 WL 1989427, at *1 (D. Kan. June 20, 2007)

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(citation omitted). Thus, “courts in this district apply the standards for evaluating a motion to

reconsider in the civil context to such motions.” United States v. Lawson, No. 08-20039-CM,

2008 WL 3850486, at *1 (D. Kan. Aug. 15, 2008) (citing Carr, 2007 WL 1989427, at *1; United

States v. Anderson, Nos. 03-3009-JWL, 98-20030-01-JWL, 2003 WL 22436270, at *2 (D. Kan.

Oct. 22, 2003)).

           D. Kan. Rule 7.3(b) requires a party seeking reconsideration to base its motion on “(1) an

intervening change in controlling law; (2) the availability of new evidence; or (3) the need to

correct clear error or prevent manifest injustice.” A motion to reconsider is proper where the

Court “has obviously misapprehended a party’s position or the facts or applicable law, or where

the party produces new evidence that could not have been obtained through the exercise of due

diligence.” Comeau v. Rupp, 810 F. Supp. 1172, 1174 (D. Kan. 1992). A motion to reconsider

is inappropriate, however, if the movant seeks only to revisit issues or argument already

presented. See United States v. D’Armond, 80 F. Supp. 2d 1157, 1171 (D. Kan. 1999). While

the Court has discretion whether to grant a motion for reconsideration, see United States v.

Randall, 666 F.3d 1238, 1241 (10th Cir. 2011) (citing United States v. Barajas-Chavez, 358 F.3d

1263, 1266 (10th Cir. 2004)), the Court, in fact, has considered all the arguments that Mr.

Martinez advances in his motion.

    II.       Analysis

           Mr. Martinez contends that the Court misapprehended the facts and “‘exceeded the

bounds of permissible choice’” when it denied his motion to suppress. Doc. 76 at 1 (quoting Fye

v. Okla. Corp. Comm’n, 516 F.3d 1217, 1224 (10th Cir. 2008)). Specifically, Mr. Martinez

asserts:

           The Court denied defendants’ motions to suppress because it found that Agent
           Pipkin acquired lawful warrants from the state court judge and sent them to T-

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       Mobile before T-Mobile commenced pinging defendants’ telephones. Doc. 70 at
       12. In its order, the Court stated that “the credible evidence shows that Agent
       Pipkin secured warrants and provided them to T-Mobile before law enforcement
       received any of the ping results.” Id. at 13. The Court’s rationale for denying
       defendants’ motions to suppress rests on this critical fact, which defendant
       Martinez contends is not supported by the evidence.

Doc. 76 at 2.

       Mr. Martinez argues that the record does not support the Court’s conclusion for two

reasons. First, he points to the Court’s interpretation of testimony by Kansas Bureau of

Investigation (“KBI”) Special Agent Nick Pipkin at a November 16, 2015 hearing. There, Agent

Pipkin testified, as relevant here, as follows:

       Q.     Okay. Now, simultaneously with you contacting T-Mobile a warrant is
       obtained from a state district court judge, correct?

       A.       Yes.

       ....

       Q.       Okay. Why do both?

       A.      Past practice and what I was told, because I have not done many pings in
       my career, is that you need an affidavit for that signed by a judge. So I went
       ahead and did that. It was on a weekend. . . . I eventually got ahold of T-Mobile
       to actually speak to a person. . . . I gave them what I had. I had said, I have an
       affidavit. They then asked me a couple other questions and the exigency came up.
       I then explained what I had. The individual I was then speaking with said, well,
       that is exigent circumstances. You don’t need an affidavit for exigent
       circumstances. We can just turn it on immediately. And I said, that’s great. I had
       already faxed the affidavit prior to that.

Doc. 58 at 139-40. In context, the Court understood Agent Pipkin’s reference to an “affidavit”

signed by a judge to mean the two warrants Agent Pipkin secured from a state court judge.

Those two warrants, signed, dated, and inscribed with the time of the judge’s signature,

authorized the KBI to ping the location data on Mr. Martinez’s and Ms. Moreno-Magana’s

phones. Mr. Martinez contends that the Court’s understanding of Agent Pipkin’s testimony was



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clear error because the government did not reconcile the confusion created by the questioner’s

use the word “warrant” with the Agent’s use of the word “affidavit.” Mr. Martinez asserts that

Agent Pipkin’s testimony proves only that he sent an affidavit in support of the warrants—not

the actual warrants—to T-Mobile. Second, Mr. Martinez contends that the record does not

support the Court’s conclusion that Agent Pipkin sent the warrants to T-Mobile before it initiated

pings. Neither of Mr. Martinez’s arguments is persuasive.

       “‘[W]here there are two permissible views of the evidence, the factfinder’s choice

between them cannot be clearly erroneous.’” United States v. Colonna, 360 F.3d 1169, 1175

(10th Cir. 2004) (quoting Anderson v. City of Bessemer City, N.C., 470 U.S. 564, 574 (1985)).

Here, the government asked Agent Pipkin why he had obtained a warrant before requesting that

T-Mobile track Mr. Martinez’s and Ms. Moreno-Magana’s phones. Agent Pipkin replied that he

had done so because, he believed, he needed an affidavit signed by a judge before pinging GPS

location data. Agent Pipkin also testified that he had submitted such an “affidavit” to T-Mobile

before contacting the carrier to initiate pings. The Court considered the disconnect between the

word used in the question and Agent Pipkin’s response and concluded that Agent Pipkin was

referring to the two warrants that he obtained from a Kansas state court judge on February 21,

2015. No one seems to contest the fact that Agent Pipkin had procured those warrants before

electronic surveillance began. Given the government’s line of questioning and the context of

Agent Pipkin’s hearing testimony, the Court’s conclusion constitutes a permissible interpretation

of evidence. See Colonna, 360 F.3d at 1175. The Court thus rejects Mr. Martinez’s contention

that its understanding of Agent Pipkin’s testimony constituted clear error.

       The Court also rejects Mr. Martinez’s argument that the record does not support a

conclusion that Agent Pipkin sent warrants to T-Mobile before it initiated pings. Agent Pipkin



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testified that he sent the warrants before contacting T-Mobile. See Doc. 58 at 139-40. His

testimony is substantial evidence and supports the Court’s conclusion. In addition, once Agent

Pipkin secured warrants permitting the KBI to track Mr. Martinez’s and Ms. Moreno-Magana’s

phones, nothing in the Fourth Amendment or the case law applying it required him to serve T-

Mobile with the warrants before pinging began. Indeed, our Circuit squarely has held that “there

is no constitutional requirement that an officer present a warrant prior to a search.” United States

v. Katoa, 379 F.3d 1203, 1205 (10th Cir. 2004).

        There is no dispute here. A state court judge signed two warrants authorizing the KBI to

track the location of Mr. Martinez’s and Ms. Moreno-Magana’s phones before T-Mobile pinged

them.1 See Doc. 76 at 3 (“The evidentiary hearing established the following facts. (i) The state

court issued the warrant to track Phone 3131 at 4:07 p.m. on February 21, 2015, and the warrant

to track Phone 8316 at 4:11 p.m. the same day; (ii) The first ping on Phone 3131 was received by

the government at 5:24 p.m. on February 21, 2015 . . . .” (internal citations omitted)). So, while

the Court accredited Agent Pipkin’s testimony and concluded that he had submitted the signed

warrants to T-Mobile, the legality of the KBI’s tracking of the phones does not turn on that

finding. Instead, the Fourth Amendment required Agent Pipkin to secure warrants approving

GPS pings. As the Court explained in its Order denying Mr. Martinez’s suppression motion:

“The Kansas judge, acting as a neutral intermediary, issued the warrants upon a showing of

probable cause. Agent Pipkin thus had obtained the judicial authorization demanded by the

Fourth Amendment and the Kansas statute before acquiring the locational data on defendants’

phones.” Doc. 70 at 15. The Court thus denies Mr. Martinez’s Motion for Reconsideration.


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        The state court judge signed the affidavit supporting Agent Pipkin’s request for a warrant to track
Mr. Martinez’s phone at the same time as the warrant itself. See Doc. 45-1 at 2-3 (application and
warrant signed at 4:11 p.m. on February 21, 2015). The first ping was provided at 5:24 p.m. on February
21, 2015. Doc. 53-3 at 2.

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       IT IS THEREFORE ORDERED BY THE COURT THAT defendant Victor

Martinez’s Motion for Reconsideration by the Court of its Order Denying Suppression (Doc. 76)

is denied.

       IT IS SO ORDERED.

       Dated this 25th day of April, 2016, at Topeka, Kansas.



                                                  s/ Daniel D. Crabtree
                                                  Daniel D. Crabtree
                                                  United States District Judge




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